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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


     Strauch, et al,
             Plaintiffs,

             v.                                                    Civil No. 3:14cv956 (JBA)

     Computer Sciences Corp.,
           Defendant.

                       INDICATIVE RULING REGARDING FAIRNESS HEARING

        Plaintiffs have represented to the Court that they have settled with Defendant Computer

Sciences Corp. all matters in dispute on a class-wide basis and move for an indicative ruling [Doc. #

570], which is granted.    Accordingly, pursuant to Fed. R. Civ. P. 62-1 the Court hereby indicates that

it will accept limited remand of this case from the Second Circuit Court of Appeals for the purpose of

conducting a hearing regarding the fairness, reasonableness and adequacy of the proposed class

settlement pursuant to Fed. R. Civ. P. 23(e)(2).

        Plaintiffs are directed to file their Preliminary Approval Motion by February 22, 2021.

                                                   IT IS SO ORDERED.
                                                   /s/______________________
                                                   Janet Bond Arterton, U.S.D.J.


Dated at New Haven, Connecticut this 1st day of February 2021.
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